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                            United States District Court for the Southern District of Iowa

Presiding: Honorable Stephanie M. Rose
Case No. 4:21-cv-00283                                      : Clerk’s Court Minutes – Motion Hearing
______________________________________________________________________________________________________________________________________

Plaintiff(s)                                               : Defendant(s)
                                                           :
United States of America                                   : Daniel Gingerich
                                                           :
                                                           :
                                                           :
                                                           :
_______________________________________________________________________________________________________________________________________

Plaintiff(s) Counsel: Mary Elisabeth Hollingsworth and Shamp Anupurba Panda


Defendant(s) Counsel: N/A

Court Reporter: SueAnn Jones                                :   Interpreter: N/A
_______________________________________________________________________________________________________________________________________

Motion(s) for Ruling:                                                            Ruling           /     Ruling Reserved
______________________________________________________________________________________________________________________________________
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Proceedings:
2:01 Court in session. Court makes record regarding defendant's non-appearance. 2:02 Court breaks. 2:29
Court returns. Court makes additional record regarding defendant's non-appearance. 2:32 Court breaks. 2:47
Court returns. Defendant appears personally without counsel. 2:50 Government presents a status update
regarding defendant's compliance with the Temporary Restraining Order [4]. 2:59 Defendant presents a status
update regarding his compliance with the Temporary Restraining Order [4]. 3:13 Government presents
additional information regarding defendant's compliance with the Temporary Restraining Order [4].

Court Grants a Preliminary Injunction Order. Written order to follow. Government to provide the Court with a
status update in two weeks. 3:39 Adjourn.




Time Start: 2:01 pm
Time End: 3:39 pm
Date: October 8, 2021                                                                     /s./ K. Chrismer
                                                                                          __________________________
                                                                                          Deputy Clerk
